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&lt;p&gt;&lt;font size="+1"&gt;&lt;strong&gt;&lt;center&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/font&gt;&lt;/center&gt;
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&lt;center&gt;NO. 03-0&lt;a name="1"&gt;0&lt;/a&gt;-00678&lt;a name="2"&gt;&lt;/a&gt;-CV&lt;/center&gt;
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&lt;center&gt;&lt;a name="3"&gt;&lt;/a&gt;In re Eduardo M. Benavides&lt;/center&gt;
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&lt;center&gt;ORIGINAL PROCEEDING FROM &lt;a name="4"&gt;&lt;/a&gt;TRAVIS COUNTY&lt;a name="5"&gt;&lt;/a&gt;&lt;/center&gt;
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PER CURIAM&lt;/strong&gt;

&lt;p&gt;The petition for writ of mandamus is denied.  &lt;em&gt;See&lt;/em&gt; Tex. R. App. P. 52.8(a).

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&lt;p&gt;Before Chief Justice Aboussie, Justices B. A. Smith and Patterson

&lt;p&gt;Filed:   November 14, 2000

&lt;p&gt;Do Not Publish

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